                          UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

UNITED STATES OF AMERICA,                             )
                                                      )      Case No. 3:13-cr-153-1
        v.                                            )      Judge Aleta A. Trauger
                                                      )
DORIAN AYACHE,                                        )

                                                ORDER

        For the reasons set forth in the accompanying Memorandum, defendant Dorian Ayache’s

Motion to Dismiss (Docket No. 26) is GRANTED and Counts 1 through 9 of the Indictment

against Ayache are hereby DISMISSED.

        It is so ORDERED

        Enter this 14th day of February 2014.
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                                                      ALETA A. TRAUGER
                                                      United States District Judge




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